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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA


WERNER ENTERPRISES, INC.,

       Plaintiff,
                                            Civil Action No.: 1:21-cv-02667-VMC
v.

DAVID WIRE, PHILLIP
MITCHELL and AJC LOGISTICS,
LLC,

       Defendants.

          PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANTS’
                        MOTION TO DISMISS

      If the Court were to experience a sense of déjà vu upon reading the arguments

contained in Defendants’ Motion to Dismiss, it would be very well founded. The

same contentions previously appeared during Defendants’ unsuccessful attempt to

prevent Plaintiff from amending the First Amended Complaint. Indeed, Defendants’

current Motion is little more than a rehash of Defendants’ prior assertion that the

proposed amendments to the First Amended Complaint would be futile. The Court,

however, expressly found that the amendments would not be futile the first time it




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considered the question and necessarily decided that the Second Amended

Complaint stated claims upon which relief can be granted.1

      Moreover, the Court held that it “agree[d] with Werner that the additional

factual allegations added in its Second Amended Complaint serve to support its trade

secret misappropriation claim, and the separation of ‘Confidential Information’ and

‘Trade Secrets’ provides clarity to its claims and addresses Defendants’ preemption

arguments.” (Dkt. 61 at 5). Plaintiff respectfully submits that the Court should reject

the Defendants’ request for a “do-over” and deny their latest Motion.

                       I.     FACTUAL BACKGROUND

      As described at length in the pleadings and prior Motions, Plaintiff Werner

Enterprises, Inc. (“Werner”), is a transportation and logistics company and

Defendant AJC, Inc. (“AJC”) is a direct competitor to Werner. Defendant Phillip

Mitchell (“Mitchell”) and Defendant David Wire (“Wire”) are former employees of

Werner who now work for AJC. This case results from “Project Orbit,” a conspiracy

between AJC, Mitchell, and Wire to wrongfully compete with Werner while Wire

and Mitchell were still employed by Werner. (See Sec. Am. Compl.) (Dkt. 62).



1
 As the Court acknowledged, denial of leave to amend on the basis of futility is
only justified “when the complaint as amended is still subject to dismissal.”(DKt.
61 at 5, citing Hall v. United Ins. Co. of Am., 367 F.3d 1255, 1262-63 (11th Cir.
2004)).

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Defendants accomplished their conspiracy through, among other things, the

wrongful use and disclosure of Werner’s confidential information and trade secrets.

(Sec. Am. Compl. at 6-10) (Dkt. 62). Project Orbit ultimately resulted in massive

disruption and financial loss for Werner’s Atlanta office. (Sec. Am. Compl. at 12)

(Dkt. 62).

      On August 6, 2021, Werner filed its First Amended Complaint, alleging

violations of the Defend Trade Secrets Act (“DTSA”), the Georgia Trade Secrets

Act (“GTSA”), tortious interference with business relations, civil conspiracy, and

conversion against all Defendants (the “Amended Complaint”). (Dkt. 14). Werner

also brought claims of breach of contract and breach of duty of loyalty against Wire

and Mitchell, and tortious interference with contract against AJC. (Am. Compl. at

10-15, 27-28). Defendants filed their Answer on August 18, 2021. (Dkt. 15).

      The parties then engaged in the exchange of documents and written discovery,

which included several discovery disputes and required numerous conferrals and

delays, two of which led to appearances before the Court. Over six months after the

Amended Complaint was filed Defendants sought leave to file their Motion for

Judgment on the Pleadings. (Dkt. 31). A stay of discovery was entered on March

25, 2022, pending the resolution of the Motion for Judgment on the Pleadings and




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the resolution of previously submitted discovery disputes. (Dkt. 42).2 Defendants

were granted leave to file their Motion for Judgment on the Pleadings and did so on

April 15, 2022. (Dkt. 46, 48). After extensive briefing, the Court granted Werner

leave to file its Second Amended Complaint and denied Defendants’ Motion for

Judgment on the Pleadings without prejudice as moot on October 28, 2022. (Dkt.

61).

       In compliance with the Court’s Order, Werner filed its Second Amended

Complaint on November 1, 2022. (Dkt. 62). Despite the Court’s endorsement,

Defendants filed yet another motion, this time asking the Court to dismiss the

Complaint whose filing it had just approved. This latest Motion consists largely of

the same arguments contained in Defendants’ Motion for Judgment on the Pleadings

and which Defendants had incorporated into their Opposition to Werner’s Motion to

Amend.

                       II.    STANDARD OF REVIEW

       A complaint need not contain “detailed factual allegations to survive

dismissal,” but must provide the grounds of entitlement to relief with “more than


2
  These discovery disputes remain unresolved, and have delayed important
documentary discovery and depositions. Dismissing Werner’s claims at this time,
when it has been prevented from completing discovery by Defendants’ refusal to
produce certain documents or conduct relevant searches of their records, would
unfairly deprive Werner of the opportunity to prove its claims.

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labels and conclusions . . . .” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007). “A claim has facial plausibility when the pleaded factual content allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009). To survive a motion to dismiss,

the factual allegations of a complaint “must be enough to raise a right to relief above

the speculative level on the assumption that all of the complaint's allegations are

true.” Twombly, 550 U.S. at 545.

      In the case of a motion to dismiss involving the misappropriation of

confidential information, a party does not have to fully divulge the details of its

confidential and proprietary information to survive. See DynCorp Int'l v. AAR Airlift

Grp., Inc. 664 F. App'x 844, 849 (11th Cir. 2016). The allegations must allow the

defendant to have notice of the basis of the plaintiff’s claims. Id. at 850. The Second

Amended Complaint, as pleaded, sufficiently identifies the confidential information

and trade secret information Werner alleges were misappropriated by Defendants

and Defendants have more than adequate notice of Werner’s claims.

                                III.   ARGUMENT

      Defendants contend that Werner’s claims for violation of the Defend Trade

Secrets Act, 18 U.S.C. § 1836, (“DTSA”), the Georgia Trade Secrets Act, O.C.G.A.

§ 10–1–760 et seq., (“GTSA”), and its state law claim for breach of contract fail to


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identify the misappropriated trade secrets and confidential information at issue. The

Second Amended Complaint contains more than enough detail to provide

Defendants with notice of the basis of Werner’s claims without divulging the details

of its confidential and proprietary information.

         Defendants next argue that the contracts underlying Werner’s breach of

contract claim are unenforceable under Nebraska law but fatally fail to identify any

controlling law in support of their position. Relevant authority instead instructs that

the underlying contracts are enforceable.

         Additionally, Defendants argue that Werner’s tort law claims are preempted

by the GTSA because they are based on the misappropriation of trade secret

information. The Second Amended Complaint alleges misconduct other than the

misappropriation of trade secrets to support its tort law claims, and they are therefore

not preempted. Because Werner’s tort claims are not preempted, Defendants

argument that Werner’s conspiracy claim should be dismissed for lack of a viable

underlying tort claim also fails.

         Finally, Defendants argue that Werner’s claims for tortious interference with

business relationships fail to satisfy the stranger doctrine. Because the authority cited

by Defendants is factually distinguishable from the present case, this argument also

fails.


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      A. Werner Has Sufficiently Pleaded Its Trade Secrets Claims.

        A claim for misappropriation of trade secrets requires a plaintiff to prove that

“(1) it had a trade secret and (2) the opposing party misappropriated the trade secret.”

Cap. Asset Rsch. Corp. v. Finnegan, 160 F.3d 683, 685 (11th Cir. 1998) (internal

quotation marks omitted). Defendants incorrectly argue that Werner’s claim of

misappropriation fails to specifically identify the trade secrets Defendants allegedly

misappropriated. (Defs.’ Mem. at 9). The analysis of claims under the DTSA and

the     GTSA    substantially   overlap,    and   courts    therefore   address   them

simultaneously. See, e.g., U.S. Sec. Assocs., Inc. v. Lumby, No. 1:18-CV-5331-TWT,

2019 WL 8277263 (N.D. Ga. Sept. 25, 2019); see also One Sixty Over Ninety, LLC

v. Ologie, LLC, No. 3:17-CV-147 (CDL), 2019 WL 11608032, at *3–4 (M.D. Ga.

Sept. 6, 2019). “Compilations” and “list[s] of actual or potential customers”

explicitly qualify as trade secrets under the GTSA. O.C.G.A. § 10-1-761(4); see also

G.W. Henssler & Assocs., Ltd. v. Marietta Wealth Mgmt., LLC, No. 1:17-CV-2188-

TCB, 2017 WL 6996372, at *4 (N.D. Ga. Oct. 23, 2017); U.S. Sec. Assocs., Inc.,

2019 WL 8277263, at *10. The DTSA’s and GTSA’s definitions of “trade secret”

are purposefully broad, and the Amended Complaint specifies several types of




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information that are explicitly included within them. The definition of “Trade

Secrets”3 in the Second Amended Complaint reads in full:

      customer lists containing customer identities and information regarding
      preferences, needs, background, contact persons, contact information,
      requirements, purchasing tendencies, sensitive pricing, mark-up, and
      margin information regarding rates charged to customers for particular
      Werner products and services, and history of customers (including both
      retailers and wholesalers/distributors); and proprietary financial
      documents including, but not limited to, market profiles, profit and loss
      analyses and revenue summaries and projections for individual
      customers as well as entire Werner offices.

(Sec. Am. Compl. ¶ 13). The trade secret information identified in the Amended

Complaint specifically includes “customer lists,” with a description of information

that is included in those compilations, as well as “proprietary financial documents.”

      The Northern District of Georgia has declined to dismiss claims under the

DTSA and GTSA that were pleaded in a manner similar to those of Werner’s. For

example, in a case cited by Defendants, this Court denied a motion to dismiss where

the complaint contained a very similar definition of the phrase “trade secrets.” See

Agilysys, Inc. v. Hall., 258 F. Supp. 3d 1331 (N.D.Ga. 2017). The Agilysys complaint

defined “trade secrets” as: “including but not limited to, price lists, sales lead sheets,



3
 Defendants inaccurately claim that Plaintiff’s definition of “Trade Secrets” is “a
reiteration of the exact language found in the Proprietary Matters Agreements.”
(Defs.’ Mem. at 11). To the contrary, the Contract encompasses a broader list of
information, both trade secrets and non-trade secrets.

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customer lists, bidding proposal methodology, past purchase information, and

proposal templates” and contained accusations that the defendant emailed “trade

secret, confidential, and/or proprietary information from his [Werner] email account

to his personal email account.” Am. Compl. at 8, Agilysys, Inc. v. Hall, 258 F. Supp.

3d 1331 (N.D.Ga. 2017) (No. 1:16 03557).

      Additionally, in U.S. Sec. Assocs., Inc. v. Lumby, this Court determined that a

plaintiff properly pleaded violations of the DTSA and GTSA where the complaint

alleged the defendant had “accessed, viewed, and downloaded [plaintiff]’s client

contact information for the purpose of utilizing this information and gaining an

unfair competitive advantage in his new role” and “has used and intends to continue

to use [plaintiff]’s confidential information in soliciting customers and in order to

immediately and wrongfully divert customers and business away from [plaintiff[ and

to [defendant].” First Am. Compl. at 11, 2019 WL 8277263 (N.D. Ga. Sept. 25,

2019) (No. 1:18-CV-5331-TWT).

      Similarly, here, the Second Amended Complaint alleges that “customer lists

containing customer identities and information” including “sensitive pricing, mark-

up, and margin information regarding rates charged to customers for particular

Werner products and services” was misappropriated “through various means

including, but not limited to, personal Google Drive cloud storage accounts.” (Sec.


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Am. Compl. ¶¶ 13, 43). Werner’s identification of trade secrets alleged to have been

misappropriated by Defendants more than sufficiently places Defendants on notice

of the claims against them.

      Defendants’ reliance on M5 Management. Services, Inc. v. Yanac, is

misplaced. In M5 Management, the Northern District of Alabama dismissed the

plaintiff’s DTSA claim because the complaint failed to “adequately allege what its

trade secrets were or how the Defendant misappropriated them.” 428 F. Supp. 3d

1282, 1290 (2019). The complaint in M5 Management Services, Inc., however,

included “trade secrets” within its definition of “Confidential Information.” That

definition read in full: “sensitive and valuable business information, trade secrets,

pricing information, prospect lists, candidate lists and information, qualification

requirements, good will, and other such confidential material, contacts, sources, and

data.” First Am. Compl. at 3-4, M5 Mgmt. Servs., Inc. v. Yanac, 428 F. Supp. 3d

1282 (N.D.Ala. 2018) (5:18-CV-00209). There, the term “trade secrets” is not

defined anywhere in the complaint, nor does the complaint provide any facts to

support the contention that confidential or proprietary information of any kind was

misappropriated. Instead, the M5 Management plaintiff only used the term “trade

secret . . . once when describing its confidential material but [did] not provide any

supporting information in the complaint as to what the trade secrets [were].” Id. at


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1290.4 This isolated reference to “trade secret” is far less specific than the extensive

definition supplied in Werner’s Second Amended Complaint.

      Defendants’ reliance on Putters v. Rmax Operating, LLC is similarly

misguided. No. 1:13-CV-3382-TWT, 2014 WL 1466902 (N.D. Ga. Apr. 15, 2014).

First, this court subsequently disagreed with, and declined to follow, the ruling in

Putters noting that the basis for the court’s opinion was unclear:

      To the extent that the court in Putters intended to hold that prior
      exposure to trade secrets through proper means (i.e., within the
      employment relationship) creates a right of a former employee to later
      re-acquire the same information without permission or approval, this
      court disagrees.

Chemence Med. Prod., Inc. v. Quinn, No. 1:11-CV-1366-CAP, 2015 WL 12532179,

at *6 (N.D. Ga. Aug. 5, 2015), aff’d, 685 F. App’x 701 (11th Cir. 2017). The Putters

opinion is also distinct because that defendant was held not to have acquired the

alleged trade secrets by “improper means” where he was not bound by a

confidentiality agreement and acquired the trade secrets properly during his

employment. Putters v. Rmax Operating, LLC, No. 1:13-CV-3382-TWT, 2014 WL

1466902, at *3 (N.D. Ga. Apr. 15, 2014). In contrast, Wire and Mitchell were bound



4 Defendants also cite to M.C. Dean, Inc. v. City of Miami Beach, Fla., 199 F. Supp.
3d 1349, 1357 (S.D. Fla. 2016). That opinion addressed the failure of a plaintiff to
allege that it took steps to protect the secrecy of its alleged trade secrets or that those
trade secrets were wrongfully acquired. Those facts are not at issue here.

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by confidentiality agreements, making the Defendants’ conduct wrongful. (Sec. Am.

Compl. ¶¶ 33, 35). For these reasons, the Court should disregard the Putters decision

as an unpersuasive and inapplicable outlier.

   B. Werner has Sufficiently Pleaded Breach of Contract.

      By recycling its DTSA and GTSA arguments and without citing to any

controlling law, Defendants seek to dismiss Werner’s breach of contract claims by

arguing that the underlying Proprietary Matters Agreements (the “Contracts”) are

unenforceable under Nebraska law. To the contrary, complaints alleging breach of

contract based on similar descriptions of confidential information have survived

motions to dismiss under Nebraska law.

         1) The Amended Complaint sufficiently alleges that Wire and Mitchell
            were subject to confidentiality agreements and sufficiently identifies
            the confidential information alleged to have been taken.

      Defendants again rely on M5 Management Services, Inc. for the contention

that Werner failed to identify the confidential information allegedly misappropriated

in breach of the Contracts or the ways in which Defendants misappropriated that

information. In M5 Management, however, the plaintiff described a broader list of

confidential information and alleged no facts to support its claims of

misappropriation. The plaintiff instead relied on “the complaint read in its entirety”

to support its claim. M5 Mgmt. Servs., Inc., 428 F. Supp. 3d at 1289. Here, Werner


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alleged misappropriation of confidential information, including: “marketing

strategies and operational plans; Werner employees’ personally identifiable

information including, but not limited to, salary and commission structures and

performance evaluations; non-trade secret information concerning Werner’s new

business ventures and potential market affiliations; customer leads; and other

customer-specific information.” (Sec. Am. Compl. ¶ 12). These categories of

information constitute proprietary customer information under the Proprietary

Matters Agreement, which specifically protects “information about customers and

prospective customers.” (Ex. A, B to Sec. Am. Compl. at 1). Further, Werner

specifically alleges that Wire and Mitchell “wrongfully reproduced, transferred and

distributed Werner’s Confidential Information and Trade Secrets through various

means including, but not limited to, personal Google Drive cloud storage accounts.”

(Sec. Am. Compl. ¶ 43).

      The Northern District of Nebraska’s ruling in Signature Style, Inc. v. Roseland

is instructive and persuasive. There, the federal district court sitting within Nebraska

and applying Nebraska law held that the plaintiff stated a claim for breach of a

confidentiality agreement signed by the defendant where the complaint alleged that

the defendant, in violation of a contract, had misappropriated a broad range of

materials. Signature Style, Inc. v. Roseland, No. 4:19-CV-3089, 2020 WL 58456, at


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*6 (D. Neb. Jan. 6, 2020). Specifically, that complaint accused the defendant of

misappropriating “certain proprietary and confidential information, documentation

and materials, including, but not limited to, customer lists, trade secrets, supplier,

vendor and manufacturer proprietary information, customer order processes, ring

designs, pricing information and strategies, intellectual property, and other

proprietary information…” Compl. at 3, Signature Style, Inc. v. Roseland, 2020 WL

58456 (Dist. Nebr., Jan. 6, 2020) (No. 4:19-CV-3089). The misappropriated

Confidential Information identified in the Amended Complaint is even more specific

than the list of information at issue in Signature Style.

       The Amended Complaint sufficiently alleges that Wire and Mitchell were

subject to confidentiality agreements and sufficiently describes the confidential

information alleged to have been misappropriated by Defendants.

          2) The Contracts are enforceable because they are supported by
             consideration and contain a durational limitation.

      Defendants erroneously claim that the Contracts are unenforceable because:

a) continued employment cannot constitute consideration under Nebraska law, and

b) the Contracts do not contain a durational limit.

                  a) The Contracts are supported by sufficient consideration.

      Defendants contend that, “[w]hile Nebraska courts have not specifically

addressed the question of whether continued employment is sufficient consideration

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for a restrictive covenant or confidentiality agreement,” Werner has “not alleged any

consideration or additional benefit” in exchange for Wire and Mitchell signing the

Contracts. (Defs.’ Mem. at 18). To the contrary, it is settled Nebraska law that

continued employment is sufficient consideration for restrictive covenants. See Sec.

Acceptance Corp. v. Brown, 106 N.W.2d 456, 463 (1960), decision clarified on

denial of reh'g, 107 N.W.2d 540 (1961) (enforcing restrictive covenant signed after

employment commenced). The U.S. District Court for the District of Nebraska,

interpreting Nebraska law, also recently agreed that continued employment is

sufficient consideration to support a confidentiality agreement and denied a motion

to dismiss on this ground. Signature Style, Inc. v. Roseland, No. 4:19-CV-3089, 2020

WL 58456, at *5 (D. Neb. Jan. 6, 2020).

      In addition, Georgia has unambiguously concluded that continued

employment is sufficient consideration to support a confidentiality agreement like

the ones signed by Wire and Mitchell. See, e.g., Albertson v. Art Inst. of Atlanta, No.

116CV03922WSDRGV, 2017 WL 9474223, at *7 (N.D. Ga. Mar. 23, 2017), report

and recommendation adopted, No. 1:16-CV-3922-WSD, 2017 WL 1361293 (N.D.

Ga. Apr. 14, 2017). The Contracts are supported by sufficient consideration in

accordance with Nebraska law.




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                  b) The Contracts contain a temporal limitation.

      Defendants’ argument that the Contracts lack a durational limitation is

similarly unfounded. The Contracts provide that the confidentiality obligations will

last “for a period after termination of such employment, until the Confidential

Information becomes publicly known.” (Ex. A, B to Sec. Am. Compl. at 1)

(emphasis added). Construing Nebraska law, the District of Nebraska enforced a

nondisclosure agreement with nearly identical language. Election Sys. & Software,

LLC v. RBM Consulting, LLC, No. 8:11CV438, 2012 WL 12985133 (D. Neb. May

25, 2012). The contract at issue in Election Systems read:

      I agree that I will not at any time, either during or after my
      employment with [plaintiff] until the Confidential Information
      becomes publicly known, in any way disclose to anyone or use for any
      purpose any Confidential Information of [plaintiff], except as
      specifically required in the proper performance of the duties of [my]
      employment with [plaintiff] or as expressly authorized by [plaintiff].

Id. at *1. (Emphasis added). The Contracts at issue and signed by Wire and Mitchell

are nearly identical:

      Employee further agrees that during the term of Employee's
      employment with Werner Enterprises and for a period after
      termination of such employment, until the Confidential
      Information becomes publicly known, Employee shall not disclose to
      anyone or use for any purpose any Confidential Information of Werner
      Enterprises, . . ..




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(Sec. Am. Compl. Ex. A, B) (emphasis added). Moreover, the confidentiality

provision at issue in Signature Style, Inc. v. Roseland survived a motion to dismiss

despite containing no temporal limitation and despite that the accompanying

noncompete was found unenforceable. 2020 WL 58456, at *1 (D. Neb. 2020); Ex.

A to Compl. at 3, Signature Style, Inc. v. Roseland, 2020 WL 58456 (D. Neb. Sep.

9, 2019) (No. 4:19-CV-3089).

                 c) Application of Georgia law supports enforcement of the
                    Contracts.

      Defendants cite to CAE Vanguard, Inc. v. Newman, a 28-year-old Nebraska

case that applies obsolete Georgia law concerning the “blue-pencilling” of an

overbroad noncompete agreement in support of its position that the Contracts are

unenforceable. (Defs.’ Mem. at 19, n. 3) (citing 518 N.W. 2d 652, 655-56 (Neb.

1994)). Not only is the application of Georgia law in CAE Vanguard inapposite to

the issue before the Court, but the relevant Georgia law discussed in CAE Vangaurd

was preempted by the Georgia Restrictive Covenant Act of 2011, which now

specifically permits courts to modify restrictive covenants “to achieve the original

intent of the contracting parties to the extent possible.” O.C.G.A. § 13-8-54.

Defendants’ reliance on the holding in CAE Vanguard is therefore inapplicable.

      Defendants’ reliance on Carson v. Obor Holding Co., LLC is equally

inapposite because the confidentiality agreement there explicitly applied “in

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perpetuity.” 734 S.E.2d 477, 482 (Ga. App. 2012). As addressed above, the contract

provision at issue here applies until the information becomes public knowledge and

is therefore enforceable under Nebraska law.

   C. Werner’s Tort Claims Are Not Preempted by the GTSA Because They
      Are Not Based Solely on Defendants’ Misappropriation of Trade Secrets.

      Defendants contend that Werner’s claims for breach of duty of loyalty by Wire

and Mitchell (for solicitation of customers), tortious interference with business

relationship (against Wire), and tortious interference with contract (against AJC) are

superseded by the GTSA. (Defs.’ Mem. at 19). While the GTSA does supersede

conflicting tort law claims based exclusively on the misappropriation of a trade

secret, it does not supersede claims based on an underlying breach of a contract that

prohibits the disclosure of confidential or trade secret information, nor does it

supersede claims that are based on facts other than misappropriation of a trade secret.

O.C.G.A. § 10-1-767(a), (b).

   1. Werner’s Amended Complaint Alleges Misappropriation of both Trade
      Secret Information and Confidential Information.

      The Second Amended Complaint alleges that Defendants’ conspiracy

involved the misappropriation of information that constitutes both trade secret

information under the DTSA and the GTSA and of additional confidential and

proprietary information that was protected by the Contracts and did not constitute


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trade secret information. (Sec. Am. Compl. ¶¶ 12, 13). This Court has held that,

although the GTSA preempts “lesser and alternate” claims based on the

misappropriation of information that is classified as trade secret information, it does

not preempt claims which are based on the misappropriation of information that a

plaintiff “characterizes as non-trade secrets.” Angel Oak Mortg. Sols. LLC v.

Mastronardi, No. 1:20-CV-4583-MLB, 2022 WL 875910, at *3 (N.D. Ga. Mar. 23,

2022); see also Diamond Power Int'l, Inc. v. Davidson, 540 F. Supp. 2d 1322, 1345

(N.D. Ga. 2007) (“[I]f a claim seeks to remedy an injury caused not by the

misappropriation of proprietary information, but by separate conduct—such as the .

. . improper interference with contractual relationships respecting something other

than proprietary information—such a claim cannot be said to be ‘in conflict’ with

the GTSA.”).

      The cases cited by Defendants are inapposite because those plaintiffs pleaded

an “alternative theory of recovery” in the event that a defined set of information did

not qualify as trade secret information. See, e.g., Opteum Fin. Servs., LLC v. Spain,

406 F. Supp. 2d 1378 (N.D. Ga. 2005); Robbins v. Supermarket Equip. Sales, LLC,

290 Ga. 462, 465, 722 S.E.2d 55, 58 (2012). Werner does not plead alternate theories

of recovery for the misappropriation of its trade secret information, rather, it




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contends that Defendants shared information that constituted trade secret

information as well as confidential non-trade secret information.

      Defendants also cite to Penalty Kick Mgmt. Ltd. v. Coca Cola Co. where the

court held that the GTSA superseded state law tort claims that were “clearly based

upon a trade secret.” 318 F.3d 1284, 1287-88 (11th Cir. 2003). There, the plaintiff’s

tort claims were based exclusively on conduct related to the misappropriation of

trade secrets. Id. Here, however, the Second Amended Complaint alleges the

misappropriation of non-trade secret Confidential Information as the basis for its tort

claims.

   2. The GTSA Does Not Supersede Werner’s Tort Claims because they are
      Based on Facts other than Misappropriation of Trade Secrets.

      Tort claims that are not based on the misappropriation of trade secret

information are not preempted by the GTSA. See O.C.G.A. § 10-1-767(b); Angel

Oak Mortg. Sols. LLC v. Mastronardi, No. 1:20-CV-4583-MLB, 2022 WL 875910,

at *3 (N.D. Ga. Mar. 23, 2022). Defendants concede that Werner’s breach of duty

of loyalty claims against Wire and Mitchell are not preempted to the extent that they

are not based on the misappropriation of trade secrets. (Defs.’ Mem. at 5, n. 1).

      As for Werner’s conspiracy claim, because Werner’s tort claims are not

superseded by the GTSA, and the Second Amended Complaint alleges that

Defendants engaged in a conspiracy by “induc[ing] other employees of Werner to

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breach their duty of loyalty,” Werner’s conspiracy claim should not be dismissed.

(Sec. Am. Compl. ¶¶ 163-64). Similarly, Werner’s tortious interference with

contract claim against AJC is not based on the misappropriation of trade secrets, but

on AJC’s willful involvement in Werner employees’ breach of their Contracts. (Sec.

Am. Compl. ¶ 144). Werner’s tort claims are therefore not preempted by the GTSA.

   D. Defendants were Strangers to the Business Relations with which they
      Interfered

      Defendants contend that Werner’s claim for tortious interference with

business relations should be dismissed because Defendants were not strangers to the

business relationships with which they interfered. In support of this argument,

Defendants cite to the recent holding by the Georgia Court of Appeals in Parnell v.

Sherman & Hemstreet, Inc., 364 Ga. App. 205, 216, 874 S.E.2d 394, 403 (2022).

However, Parnell does not control in this case.

   Defendants erroneously claim that the Parnell court held that the defendant in

that case “had a legitimate financial interest in the customers to [sic] moving their

business to the new employer.” (Defs.’ Mem. at 24). Rather, the Court held that the

defendants “were not strangers to the employment agreement or to the underlying

business relationship between [individual defendant] and [former employer].”

Parnell v. Sherman & Hemstreet, Inc., 364 Ga. App. 205, 216, 874 S.E.2d 394, 402



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(2022) (Emphasis added). In this case, Werner has asserted tortious interference with

business relations claims against all Defendants for interfering with Werner’s

relationships with its existing customers, and against Wire and Mitchell for

interfering with the relationships of other employees on behalf of AJC. There is a

stark difference between an employer’s interest in its own employee’s noncompete

and its interest in the business and employees of another business. Were this court

to extend the Parnell decision to apply to a competitor’s interest in another

company’s business, it would undercut Georgia precedent that holds to the contrary

in situations like the one in this case. Prior to the Parnell decision, Georgia courts

routinely sustained tortious interference with business relations claims against a

party’s direct competitor when the competitor interfered with the business relations

between an employer and its customers. See, e.g., Tom's Amusement Co. v. Total

Vending Servs., 533 S.E.2d 413, 417 (2000) (“Holding that “the competitor and its

agents who assist in the interference” may be liable for tortious interference with

business relations as to a former employer and its customers.).

   Defendants’ also point to Tom’s Amusement Co. for the proposition that an

employee “is not a stranger to the business relationship between his employer and

the customers he personally services.” (Defs.’ Mem. at 24, citing 533 S.E.2d at 417).

However, Werner’s Second Amended Complaint does not allege that Defendants


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Wire and Mitchell “personally serviced” any of the customers whose relationships

with Werner were interfered with. Rather, the Second Amended Complaint alleges

that Wire and Mitchell served as Werner’s Logistics Branch Manager and Regional

Shipper Sales Manager, respectively, and abused their access to Confidential

Information to tortiously interfere with Werner’s business relations on behalf of

AJC. (Sec. Am. Compl. at ¶¶ 32, 34). Notably, the Tom’s Amusement Co. court’s

discussion of this aspect of the stranger doctrine was had in the context of a motion

for summary judgment, not a motion to dismiss. See 533 S.E.2d 413. This distinction

is crucial because which business relationships were interfered with, and whether or

not those relationships were with customers whom Wire and Mitchell “personally

serviced” is a question of fact that is inappropriate to resolve at this stage of the

litigation and requires more discovery. Therefore, Defendants’ Motion should be

denied.

                                IV.   CONCLUSION

      Werner’s trade secret claims and breach of contract claims were sufficiently

pleaded, and Defendants are on notice of the nature of the claims asserted against

them. The Contracts are valid and enforceable, and Werner’s tort claims are not

preempted, nor is Werner’s conspiracy claim based on preempted tort claims.

Furthermore, Defendants were strangers to the business relations supporting


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Werner’s tortious interference claims. Accordingly, the Court should deny

Defendants’ Motion.

     This 12th day of December, 2022.

                             Respectfully submitted,


                             ________________________________
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     CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that PLAINTIFF’S BRIEF IN OPPOSITION TO

DEFENDANTS’ MOTION TO DISMISS has been prepared in 14-point Times

New Roman Font, in compliance with the requirements of Local Rule 5.1(C).


      Dated: Monday, December 12, 2022.

                              Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I hereby certify that on Monday, December 12, 2022, I electronically filed

PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION TO

DISMISS with the clerk of court using the Court’s CM/ECF system, which will

automatically send e-mail notification of such filing to the following attorneys of

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